     Case: 1:25-cv-04431 Document #: 32 Filed: 05/30/25 Page 1 of 2 PageID #:1281




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


REVELYST OPERATIONS LLC,

        Plaintiff,                                   Case No.: 1:25-cv-04431

v.                                                   District Judge Jorge L. Alonso

THE INDIVIDUALS, CORPORATIONS,                       Magistrate Judge Heather K. McShain
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

        Defendants.




                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Revelyst

Operations LLC hereby dismisses this action with prejudice as to the defendant(s) identified

below. The parties shall bear their own attorney’s fees and costs.


     No     Seller Name           Seller ID
     10     hardwaregood          https://www.ebay.com/str/powertoolshop8?_tab=1
     11     hgty2019              https://www.ebay.com/str/hgty2019?_tab=1
     12     hmsaerge              https://www.ebay.com/str/hmsaerge?_tab=1
     14     industrialmachine5    https://www.ebay.com/str/industrialmachine5?_tab=1
     18     limagicq              https://www.ebay.com/str/liberbuy?_tab=1
     23     pbis9567              https://www.ebay.com/str/pbis9567
     29     vastfire-light        https://www.ebay.com/str/vastfirelight?_tab=1
     33     annewhd               https://www.ebay.com/str/annewhd
     34     bicycle-light         https://www.ebay.com/str/bicyclelight?_tab=1
     35     e-bojo                https://www.ebay.com/str/ebojo?_tab=1
     39     focalbuying           https://www.ebay.com/str/focalbuying
   Case: 1:25-cv-04431 Document #: 32 Filed: 05/30/25 Page 2 of 2 PageID #:1282




DATED: May 30, 2025                          Respectfully submitted,

                                             /s/ Peter Krusiewicz
                                             Matthew A. Werber (Ill. # 6287658)
                                             mwerber@nixonpeabody.com
                                             Peter Krusiewicz (Ill. # 6342444)
                                             pkrusiewicz@nixonpeabody.com
                                             NIXON PEABODY LLP
                                             70 W. Madison St., Suite 5200
                                             Chicago, IL 60602
                                             Tel: (312) 977-4400
                                             Fax: (312) 977-4405

                                             ATTORNEYS FOR PLAINTIFF




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